Name,Case
     Address2:17-cv-07281-SVW-AS          Document
             and Telephone Number of Attorney(s):         38 Filed 04/29/19 Page 1 of 1 Page ID #:104
                                                                                                              CLEAR FORM




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER
John Doe,
                                                                            2:17-cv-07281-SVW-AS
                                           Plaintiff(s)
                            v.

Margaret Klawunn, et al.,                                                   MEDIATION REPORT

                                           Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.
1.       ✔   A mediation was held on (date): February 19, 2019              .

             A mediation did not take place because the case settled before the session occurred.

2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by Civil L.R. 16-15.5(b).
                    Did not appear as required by Civil L.R. 16-15.5(b).
                             Plaintiff or plaintiff's representative failed to appear.
                             Defendant or defendant's representative failed to appear.
                             Other:

3.      Did the case settle?
                ✔   Yes, fully, on April 29, 2019         (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
                                    .

Dated: April 29, 2019
                                                                                Signature of Mediator
                                                                                 Phyllis W. Cheng, Esq.
                                                                                Name of Mediator (print)
The Mediator is to electronically file original document.

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